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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


ELI LILLY AND COMPANY, et al.,

                   Plaintiffs,


         v.                                           Case No. 24-CV-3220 (DLF)


DOROTHY FINK, et al.,

                  Defendants.


                                     [PROPOSED] ORDER

         Upon consideration of Plaintiffs Eli Lilly and Company’s and Lilly USA, LLC’s (collec-

tively, Lilly’s) Motion for Summary Judgment, the memoranda of points and authorities in support

thereof and in opposition thereto, any arguments of counsel, and the entire record in this case, it is

hereby

         ORDERED that Lilly’s Motion for Summary Judgment is GRANTED. It is further

         ORDERED that summary judgment is hereby ENTERED in favor of Lilly and against

Defendants on all claims asserted in Lilly’s Complaint, ECF No. 1. It is further

         ORDERED that implementation of Lilly’s proposed 340B cash-replenishment model is

hereby DECLARED lawful. It is further

         ORDERED that the policy of the Health Resources and Services Administration (HRSA)

forbidding implementation of rebate models without HRSA’s preapproval is hereby VACATED

and SET ASIDE. It is further

         ORDERED that HRSA’s September 18, 2024 letter to Lilly is hereby VACATED and

SET ASIDE. It is further
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         ORDERED that the Department of Health and Human Services (HHS), its component

agency HRSA, and any entities acting in concert with them are hereby ENJOINED from initiating

or pursuing any enforcement actions against Lilly in connection with its cash-replenishment

model.


         SO ORDERED, this _____ day of __________________________, 2025.




                                              Honorable Dabney L. Friedrich
                                              United States District Judge
